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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION

     BOKF, N.A., as indenture trustee,

                            Plaintiff,

            v.                                                  Case No. 21-00031-KD-B

     GORDON JENSEN HEALTH CARE
     ASSOCIATION, INC.; KNOLLWOOD NH,
     LLC; CONQUEST HEALTH SYSTEMS,
     LLC; MARSH POINTE MANAGEMENT,
     LLC; and MEDICAL CLINIC BOARD OF
     THE CITY OF MOBILE (SECOND),

                            Defendants.


          WALLER LANSDEN DORTCH & DAVIS, LLP’S MOTION TO APPROVE
            COMPENSATION FOR SERVICES RENDERED AND EXPENSES
             INCURRED AS COUNSEL TO RECEIVER FOR THE PERIOD
                   FROM MAY 1, 2022 THROUGH MAY 31, 2022

           Waller Lansden Dortch & Davis, LLP (“Waller”), counsel to the court-appointed receiver

 (the “Receiver”) in the above-captioned civil action, submits this motion to approve

 compensation for services rendered and reimbursement of costs and expenses incurred (the “Fee

 Application”) for the period from May 1, 2022 through May 31, 2022 (the “Application Period”)

 as counsel to the Receiver and, in support of the Fee Application, Waller respectfully states as

 follows:

                                                 BACKGROUND

           1.     On March 15, 2021 (the “Appointment Date”), this Court entered the Order (Dkt.

 No. 43) (the “Receiver Order”), 1 appointing the Receiver to administer and control the Facility.



 1
   Capitalized terms used in this Application and not otherwise defined shall have the meanings ascribed to them in
 the Receiver Order.
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        2.      Since accepting the appointment pursuant to the Receiver Order, the Receiver has

 exercised his full power and authority to control, manage, administer, operate, and protect the

 Receivership Estate, as laid out in the Receiver Order. The Receiver has operated and

 administered the Receivership Estate in an economical and efficient manner in compliance with

 the terms and conditions of the Bond Documents and applicable law and in the best interest of

 the Receivership Estate’s creditors.

        3.      Paragraph (8), subsection (xxiv) of the Receiver Order allows HMP to employ

 counsel to assist it in its role as Receiver. This Court approved the Receiver’s retention of Waller

 to represent it as its general counsel in this matter. (Receiver Order ¶ 19.)

        4.      Paragraph (36) of the Receiver Order provides that the Receiver shall file

 applications for payment of the Receiver’s and Receiver Affiliates fees and expenses on the

 twentieth (20) of each calendar month.

        5.      Pursuant to the Receiver Order, fees and expenses payable to Receiver Affiliates

 shall be treated as priority administrative claims against the Receivership Estate, and payment of

 such amounts in accordance with the Receiver Order take priority over payment of any claims

 arising prior to the date on which the Receiver is appointed (including, but not limited to, claims

 of the Trustee with respect to the Bonds).

        6.      The professional services provided by Waller are necessary to enable the Receiver

 to perform and exercise faithfully and confidently the Receiver’s powers, duties, and

 responsibilities under the Receiver Order.

        7.      Waller charges the Receiver for its legal services at the hourly rates in effect as of

 January 1, 2022, for matters of this type, and for reimbursement of all reasonable costs and




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 expenses incurred in connection with its representation of the Receiver in all matters concerning

 the above-captioned proceedings.

        8.       Waller maintains computerized time records of the time spent by all Waller

 professionals and paraprofessionals in connection with its representation of the Receiver.

        9.       Waller’s computerized time records reflect the category of the services provided,

 the date services were performed, the name of the professionals and paraprofessionals who

 rendered the services, a description of the services provided, the amount of time expended, and

 the cost of such services.

        10.      As set forth in greater detail below, Waller’s activities on behalf of the Receiver

 in relation to the above-captioned proceedings were substantial, beneficial, and necessary for the

 fulfillment of the Receiver’s duties and obligations pursuant to the Receiver Order.

        11.      Attached as Exhibit A to this application are computerized time records reflecting

 the services provided by Waller during the Application Period.

             DESCRIPTION OF SERVICES AND EXPENSES FOR THE APPLICATION PERIOD

        12.      During the Application Period, Waller spent 82.4 hours providing services to the

 Receiver to assist the Receiver in fulfilling his duties and obligation under the Receiver Order,

 resulting in $37,454.50 in fees and $2,732.21 in expenses.

        13.      The services rendered by Waller during the Application Period were performed

 by Waller professionals as follows:

              Professional                Hourly Rate             Hours                   Fees

 Jon P. Gaston                                $540                  0.2                 $108.00

 Kristen A. Larremore                         $540                  3.6                 $1,944.50

 Ryan K. Cochran                              $575                 23.8              $12,333.75


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 Brian J. Malcom                              $490                27.9            $13,058.50

 Blake D. Roth                                $520                 9.3             $4,836.00

 Kendria S. Lewis                             $345                15.4             $4,502.25

 Jeanette L. Ramer                            $315                 0.7             $220.50

 Anna E. Barry                                $310                 1.4             $434.00

 Angela L. Hawks                              $175                 0.1              $17.50

 TOTAL                                                            82.4            $37,454.50

        14.      In addition, during the Application Period, Waller incurred expenses in the

 amount of $2,732.21 in connection with travel expenses.

                           TERMS AND CONDITIONS OF COMPENSATION

        15.      Subject to this Court’s approval, Waller seeks payment on an hourly basis, plus

 reimbursement of actual, necessary expenses incurred by Waller during the Application Period.

        16.      The rates charged by Waller in this case are the same rates charged by Waller

 with regard to other matters of this type.

        17.      By this Fee Application, Waller seeks entry of an order granting approval, and

 directing payment, without further order of this Court, at such times as the Receiver determines

 in his absolute discretion that the funds are available, of (a) compensation in the amount of

 $37,454.50 for professional services rendered in aid of the Receiver during the Application

 Period as counsel to the Receiver and (b) reimbursement of actual and necessary out of pocket

 disbursements and charges in the amount of $2,732.21 incurred in the rendering of such

 professional services on behalf of the Receiver during the Application Period.

        18.      Other than Waller’s partnership agreement, there are no agreements or

 understandings between Waller and any other person for the sharing of compensation to be

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 received for services rendered as counsel to the Receiver during the above-captioned

 proceedings.

           19.   All services for which compensation is requested and expenses for which

 reimbursement is requested are reasonable, necessary, and were performed for and on behalf of

 the Receiver during the Application Period.

           20.   The fees and expenses incurred during the Application Period were incurred in the

 best interests of all parties to the above-captioned proceedings.

           21.   Waller has no interests adverse to the Receiver that would inhibit Waller from

 acting as counsel to the Receiver or performing any legal services for the Receiver as necessary

 for the performance of its duties under the Receiver Order.

           WHEREFORE, the Waller respectfully requests that this Court enter an order approving

 this Fee Application and granting such other and further relief as this Court deems just and

 proper.


                            [Remainder of Page Left Intentionally Blank]




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 Dated: June 21, 2022                      Respectfully submitted,

                                             /s/ Brian J. Malcom
                                           Brian J. Malcom
                                           WALLER LANSDEN
                                           DORTCH & DAVIS, LLP
                                           1901 Sixth Ave. North, Suite 1400
                                           Birmingham, AL 35203
                                           Tel: (205) 226-5706
                                           Fax: (205) 214-7342
                                           Brian.Malcom@wallerlaw.com

                                           - and -

                                           Ryan K. Cochran
                                           Alabama Bar No. 1748N70C
                                           WALLER LANSDEN
                                           DORTCH & DAVIS, LLP
                                           511 Union Street, Suite 2700
                                           Nashville, Tennessee 37219
                                           Tel: (615) 850-8778
                                           Fax: (615) 244-6304
                                           ryan.cochran@wallerlaw.com

                                           Attorneys for the Receiver, Derek Pierce of
                                           Healthcare Management Partners, LLC




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                                  CERTIFICATE OF SERVICE

        I, the undersigned, declare that a true and correct copy of the foregoing was served via
 the Court’s CM/ECF electronic noticing system on the date set forth below on the following:

 W. Joseph McCorkle, Jr.                            Thomas R. Boller
 Balch & Bingham                                    Mary Allie Elizabeth Boller
 P.O. Box 78                                        Thomas R. Boller, PC
 Montgomery, AL 36101                               150 Government Street, Ste. 1001
 jmccorkl@balch.com                                 Mobile, AL 36602
                                                    tom@bollerlawfirm.com
 Frederic Dorwart                                   allie@bollerlawfirm.com
 James A. Higgins
 Nora R. O’Neill                                    Attorneys for Conquest Health
 Frederic Dorwart Lawyers                           Systems, LLC; Gordon Jensen
 124 E. Fourth Street, Ste. 100                     Health Care Association, Inc.;
 Tulsa, OK 74103                                    Knollwood NH, LLC; & Marsh
 fdorwart@fdlaw.com                                 Pointe Management, LLC
 jhiggins@fdlaw.com
                                                    Michael Mark Linder, Jr.
 Walter Jones                                       The Atchison Firm
 Patrick N. Silloway                                3030 Knollwood Drive
 Balch & Bingham                                    Mobile, AL 36693
 30 Ivan Allen Jr. Blvd., Ste. 700                  michael.linder@atchisonlaw.com
 Atlanta, GA 30308
 wjones@balch.com                                   Attorney for Medical Clinic Board
 psilloway@balch.com                                of the City of Mobile
 Attorneys for BOKF, N.A.


 This 21st day of June, 2022.                        /s/ Brian J. Malcom
                                                    OF COUNSEL




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                                   Exhibit A

                                 Waller Invoices
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                              W A L L E R L A N S D E N D O RT C H & D A V I S , LLP
                                            NASHVILLE CITY CENTER
                                         511 UNION STREET, SUITE 2700
                                           POST OFFICE BOX 198966
                                       NASHVILLE, TENNESSEE 37219-8966
                                                615-244-6380
                                             FEDERAL ID NO. XX-XXXXXXX




 Healthcare Management Partners                                                        June 9, 2022
 Derek Pierce                                                                          Invoice 10857635
 Via Email:                                                                            Page 1
 dpierce@HCMPLLC.com                                                                   Bill Through 05/31/22
                                                                                       Billing Atty: R. Cochran




 Our Matter #    021401.12793

                 Knollwood Receivership



 05/07/22       Prepare spreadsheets and declarations in preparation for hearing
                B110                               Lewis, Kendria S             0.50 hrs.                 $ 172.50

 05/16/22       Update fee chart in preparation for final sale
                B110                                  Lewis, Kendria S             0.20 hrs.               $ 69.00

 05/16/22       Prepare closing deliverables in preparation for closing
                B110                                Lewis, Kendria S               0.20 hrs.               $ 69.00

 05/17/22       Prepare and revise recordable documents in preparation for closing.
                B110                              Lewis, Kendria S              1.00 hrs.                 $ 345.00

 05/18/22       Attend call with indenture trustee and buyer's counsel re: court's sale
                order
                B110                                 Lewis, Kendria S               0.30 hrs.             $ 103.50

 05/23/22       Revise recordable documents in preparation for closing
                B110                              Lewis, Kendria S                 0.90 hrs.              $ 310.50

 05/23/22       Revise compensation chart
                B110                                 Lewis, Kendria S              0.20 hrs.               $ 69.00

 05/23/22       Correspondence with real estate team re: FIRPTA
                B110                               Lewis, Kendria S                0.20 hrs.               $ 69.00

 05/24/22       Correspondence with L. Douglas re:

                B110                                 Lewis, Kendria S              0.70 hrs.              $ 241.50
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  05/24/22   Prepare closing deliverables in preparation for closing
             B110                                Lewis, Kendria S              0.10 hrs.           $ 34.50

  05/25/22   Revise recordable documents in preparation for closing
             B110                              Lewis, Kendria S                0.60 hrs.          $ 207.00

  05/26/22   Update compensation chart in preparation for closing
             B110                              Lewis, Kendria S                0.40 hrs.          $ 138.00

                                  Code Total:                                 5.30 hrs.          $1,828.50

  05/04/22   Work on MED's request for CHOW application
             B130                            Cochran, Ryan K                   0.10 hrs.           $ 57.50

  05/09/22   Call with W. Jones re: sales process and hearing
             B130                                Cochran, Ryan K               0.20 hrs.          $ 115.00

  05/12/22   Conduct Auction
             B130                                 Cochran, Ryan K              0.30 hrs.          $ 172.50

  05/12/22   Attend auction
             B130                                 Lewis, Kendria S             1.20 hrs.          $ 414.00

  05/12/22   Prepare chart in support of order approving sale hearing to follow auction
             B130                                 Lewis, Kendria S             0.10 hrs.           $ 34.50

  05/16/22   Work on closing checklist and documents
             B130                              Cochran, Ryan K                 0.10 hrs.           $ 57.50

  05/18/22   Work on closing documents and closing checklist
             B130                             Cochran, Ryan K                  0.20 hrs.          $ 115.00

  05/20/22   Work on closing documents
             B130                                 Cochran, Ryan K              0.60 hrs.          $ 345.00

  05/23/22   Work on closing documents
             B130                                 Cochran, Ryan K              0.20 hrs.          $ 115.00

                                  Code Total:                                 3.00 hrs.          $1,426.00

  05/02/22   Analysis of cash flow for operations and funding request
             B210                                 Cochran, Ryan K              0.30 hrs.          $ 172.50

  05/12/22   Work on funding request
             B210                                 Cochran, Ryan K              0.20 hrs.          $ 115.00

                                  Code Total:                                 0.50 hrs.            $287.50

  05/03/22   Review comments to title commitment and revise accordingly
             C200                             Lewis, Kendria S                 0.50 hrs.          $ 172.50

  05/06/22   Prepare declaration in support of sale
             C200                                 Lewis, Kendria S             0.70 hrs.          $ 241.50

                                  Code Total:                                 1.20 hrs.            $414.00
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  05/03/22   Call with D. Pierce re:
             C300                                 Cochran, Ryan K              0.10 hrs.            $ 57.50

  05/03/22   Discuss                       with J. Gaston
             C300                                  Cochran, Ryan K             0.10 hrs.            $ 57.50

  05/03/22   Work on formula to allocate proceeds of sale between bond issuances
             C300                               Cochran, Ryan K             0.50 hrs.              $ 287.50

  05/03/22   Assess and advise re: receiver's federal income tax return filing
             obligations
             C300                                   Gaston, Jon P              0.20 hrs.           $ 108.00

  05/20/22   Attention to finalizing draft closing documents and the closing task list to
             circulate to buyer's counsel
             C300                                Larremore, Kristen A.          0.70 hrs.          $ 378.00

                                    Code Total:                                1.60 hrs.            $888.50

  05/09/22   Call with bondholder
             C400                                 Cochran, Ryan K              0.10 hrs.            $ 57.50

  05/26/22   Respond to inquiry from bondholder
             C400                               Cochran, Ryan K                0.10 hrs.            $ 57.50

                                    Code Total:                                0.20 hrs.            $115.00

  05/02/22   Plan and prepare for sale hearing and auction
             L190                                Malcom, Brian J.              1.90 hrs.           $ 931.00

  05/04/22   Plan and prepare for sale, sale hearing, and auction
             L190                                 Malcom, Brian J.             2.40 hrs.          $ 1,176.00

  05/06/22   Plan and prepare for sale, hearing, and auction
             L190                                 Malcom, Brian J.             0.40 hrs.           $ 196.00

  05/12/22   Prepare for public auction
             L190                                 Malcom, Brian J.             0.80 hrs.           $ 392.00

  05/16/22   Plan and prepare for hearing on motion for preliminary injunction in
             Burgett action
             L190                                Malcom, Brian J.              1.70 hrs.           $ 833.00

  05/17/22   Plan and prepare for hearing on motion for injunction in Burgett
             proceeding
             L190                                Malcom, Brian J.             1.30 hrs.            $ 637.00

  05/18/22   Plan and prepare for hearing on injunction in Burgett
             L190                                Malcom, Brian J.              1.80 hrs.           $ 882.00

                                    Code Total:                               10.30 hrs.          $5,047.00

  05/09/22   Prepare documentation re: receivership fees in support of proposed sale
             order
             L210                               Lewis, Kendria S             0.30 hrs.             $ 103.50
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  05/09/22   Prepare declaration in support of auction
             L210                                Lewis, Kendria S                0.40 hrs.           $ 138.00

                                    Code Total:                                  0.70 hrs.            $241.50

  05/03/22   Prepare for sale hearing
             L250                                  Cochran, Ryan K               3.10 hrs.          $ 1,782.50

  05/04/22   Prepare for sale hearing and auction
             L250                                Cochran, Ryan K                 1.90 hrs.          $ 1,092.50

  05/05/22   Work on declaration and proffer in support of sale hearing
             L250                                Cochran, Ryan K                 1.00 hrs.           $ 575.00

  05/05/22   Research factors re:
             L250                                     Roth, Blake D              0.40 hrs.           $ 208.00

  05/06/22   Prepare declaration in support of sale motion and proffer of D. Prince
             L250                                 Cochran, Ryan K               0.30 hrs.            $ 172.50

  05/06/22   Draft and revise motion for preliminary injunction on Burgett matter to
             enforce Receiver's injunctions against 3rd parties
             L250                                 Malcom, Brian J.              1.60 hrs.            $ 784.00

  05/08/22   Work on proposed sale order, declaration of sale and prepare for sale
             hearing
             L250                               Cochran, Ryan K               0.80 hrs.              $ 460.00

  05/09/22   Work on notice of successful bidder, declaration in support of sale, and
             proposed sale order
             L250                                Cochran, Ryan K                0.60 hrs.            $ 345.00

  05/09/22   Work on monthly operating report and fee applications
             L250                               Cochran, Ryan K                  0.10 hrs.            $ 57.50

  05/09/22   Review and analyze pleadings and prepare for sale hearing and auction
             L250                              Malcom, Brian J.             3.80 hrs.               $ 1,862.00

  05/10/22   Prepare for hearing on sale motion including work on declaration in
             support, testimony outline, and supporting case law
             L250                                Cochran, Ryan K              1.10 hrs.              $ 632.50

  05/10/22   Prepare notice of service re: time change of sale hearing (.2); retrieve ucc
             searches in support of order to approve sale hearing (.6); prepare notice
             of filing of proposed order (.3); update fee chart in preparation for sale
             hearing (.3)
             L250                                   Lewis, Kendria S              1.40 hrs.          $ 483.00

  05/10/22   Prepare for sale hearing and auction
             L250                                 Malcom, Brian J.               1.00 hrs.           $ 490.00

  05/10/22   Work on motion to approve final accounting and discharge receiver
             L250                                  Roth, Blake D            0.30 hrs.                $ 156.00

  05/11/22   Prepare for sale hearing re: proffer, declaration in support of sale, and
             research on free and clear sales
             L250                                  Cochran, Ryan K                1.10 hrs.          $ 632.50
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  05/11/22   Travel to Auction
             L250                                 Cochran, Ryan K                 2.50 hrs.          $ 718.75

  05/11/22   Travel to Auction
             L250                                 Lewis, Kendria S                2.50 hrs.          $ 431.25

  05/11/22   Prepare for sale hearing and auction
             L250                                 Malcom, Brian J.                1.00 hrs.          $ 490.00

  05/11/22   Travel to sale hearing and auction
             L250                                 Malcom, Brian J.                2.50 hrs.          $ 612.50

  05/12/22   Work on allocation of sale proceeds motion
             L250                                Cochran, Ryan K                  0.50 hrs.          $ 287.50

  05/12/22   Finalize proposed sale order, declaration in support and notice of
             successful bidder
             L250                                Cochran, Ryan K                1.50 hrs.            $ 862.50

  05/12/22   Prepare proffer and direct examination
             L250                                Cochran, Ryan K                  0.50 hrs.          $ 287.50

  05/12/22   Prepare for sale hearing
             L250                                 Malcom, Brian J.                1.00 hrs.          $ 490.00

  05/12/22   Attend and host public auction for sale of facility
             L250                                 Malcom, Brian J.                0.40 hrs.          $ 196.00

  05/13/22   Participate in sale hearing
             L250                                 Cochran, Ryan K                 0.80 hrs.          $ 460.00

  05/13/22   Prepare for sale hearing
             L250                                 Cochran, Ryan K                 1.00 hrs.          $ 575.00

  05/13/22   Travel related to sale hearing
             L250                                 Cochran, Ryan K                 2.20 hrs.          $ 632.50

  05/13/22   Attend sale hearing
             L250                                 Lewis, Kendria S                0.80 hrs.          $ 276.00

  05/13/22   Travel related to sale hearing
             L250                                 Lewis, Kendria S                2.20 hrs.          $ 379.50

  05/13/22   Return travel from sale hearing and auction
             L250                                Malcom, Brian J.                 2.30 hrs.         $ 1,127.00

  05/13/22   Prepare for sale hearing and prepare exhibits to hearing
             L250                                Malcom, Brian J.                 1.00 hrs.          $ 490.00

  05/13/22   Attend sale hearing
             L250                                 Malcom, Brian J.                0.80 hrs.          $ 392.00

  05/13/22   Attention to monthly operating report and fee applications
             L250                                    Roth, Blake D                0.10 hrs.           $ 52.00

  05/16/22   Research related to proposed order provisions providing for good faith
             purchaser and affect of appeal
             L250                               Cochran, Ryan K              0.70 hrs.               $ 402.50

  05/17/22   Analysis of entered sale order and email to parties re: sale order
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             L250                                  Cochran, Ryan K                0.40 hrs.           $ 230.00

  05/17/22   Review and analyze sale order entered by court and compare against
             draft provided to court in proposed order
             L250                                 Malcom, Brian J.        0.30 hrs.                   $ 147.00

  05/18/22   Call with Buyer counsel and trustee counsel re: Sale Order
             L250                                Cochran, Ryan K                  0.10 hrs.            $ 57.50

  05/18/22   Work on monthly operating report and fee applications
             L250                               Cochran, Ryan K                   0.10 hrs.            $ 57.50

  05/18/22   Research re:
             L250                                  Cochran, Ryan K                0.20 hrs.           $ 115.00

  05/18/22   Draft monthly operating report and fee applications
             L250                                    Roth, Blake D                0.90 hrs.           $ 468.00

  05/18/22   Draft motion to approve final accounting and discharge receiver
             L250                                    Roth, Blake D           0.70 hrs.                $ 364.00

  05/19/22   Draft letter to accompany service of sale order
             L250                                 Cochran, Ryan K                 0.20 hrs.           $ 115.00

  05/19/22   Draft motion to discharge receiver and approve final distribution and
             research re: same
             L250                                   Roth, Blake D               0.90 hrs.             $ 468.00

  05/20/22   Draft, revise, and finalize monthly operating report for facility and fee
             applications for submission to the court and file the same
             L250                                  Malcom, Brian J.                1.90 hrs.          $ 931.00

  05/20/22   Review and revise monthly operating report
             L250                                  Roth, Blake D                  0.20 hrs.           $ 104.00

  05/20/22   Draft motion to discharge receiver and approve final accounting and
             research re: same
             L250                                   Roth, Blake D             1.20 hrs.               $ 624.00

  05/24/22   Work on motion to discharge receiver and approve final accounting
             L250                                  Roth, Blake D             1.10 hrs.                $ 572.00

  05/25/22   Draft motion to approve final accounting and research re: same
             L250                                    Roth, Blake D          1.40 hrs.                 $ 728.00

  05/26/22   Work on motion to discharge receiver and approve final accounting
             L250                                  Roth, Blake D             1.30 hrs.                $ 676.00

  05/27/22   Work on motion to approve final discharge
             L250                                   Roth, Blake D                 0.80 hrs.           $ 416.00

                                   Code Total:                                  54.50 hrs.          $24,968.50

  05/04/22   Preparation of set up of additional extranet user
             P100                                 Hawks, Angela L.                0.10 hrs.            $ 17.50

                                   Code Total:                                   0.10 hrs.             $17.50
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  05/10/22   Perform UCC searches for Gordon Jensen Health Care Association, Inc.
             and Gordon Jensen Health Care Association, Inc. and confer with K.
             Lewis re:
             P280                               Barry, Anna E               1.00 hrs.                                     $ 310.00

  05/11/22   Correspondence with K. Lewis re:
             P280                                               Barry, Anna E                     0.40 hrs.               $ 124.00

                                        Code Total:                                              1.40 hrs.                 $434.00

  05/16/22   Prepare and update the closing task list for the closing
             P400                           Larremore, Kristen A.                                 1.10 hrs.               $ 594.00

  05/23/22   Review closing certificates and documents and update the closing task
             list
             P400                            Larremore, Kristen A.          0.90 hrs.                                     $ 486.00

  05/24/22   Review affidavit and deed matters for document preparation
             P400                             Ramer, Jeanette L.                                  0.70 hrs.               $ 220.50

                                        Code Total:                                              2.70 hrs.               $1,300.50

  05/18/22   Attention to gathering information and reviewing documentation for
             closing
             P600                             Larremore, Kristen A.          0.90 hrs.                                    $ 486.00

                                        Code Total:                                              0.90 hrs.                 $486.00

             Total Fees for Professional Services ..............................................................        $ 37,454.50



                                                     Summary of Fees

              Timekeeper                                      Rate / Hr                Hours              Amount

              Gaston, Jon P                               540.00                         0.20           $ 108.00
              Larremore, Kristen A.                       540.00                         3.60         $ 1,944.00
              Cochran, Ryan K                             575.00                        23.80        $ 12,333.75
              Malcom, Brian J.                            490.00                        27.90        $ 13,058.50
              Roth, Blake D                               520.00                         9.30         $ 4,836.00
              Lewis, Kendria S                            345.00                        15.40         $ 4,502.25
              Ramer, Jeanette L.                          315.00                         0.70           $ 220.50
              Barry, Anna E                               310.00                         1.40           $ 434.00
              Hawks, Angela L.                            175.00                         0.10            $ 17.50

              TOTAL                                                                     82.40        $ 37,454.50


                                                      Disbursements

  05/10/22   VENDOR: Bobbi M. Snell INVOICE#: 010051715146 DATE: 5/24/2022                                                   $ 5.00
             GSCCCA Single-Use Account Activation Receipt

  05/11/22   VENDOR: Ryan Cochran INVOICE#: 010051627002 DATE: 5/17/2022                                                    $ 32.36
             R. Cochran, B. Malcom, and K. Lewis lunch while in Mobile, AL for Sale
             Hearing
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  05/11/22   VENDOR: Ryan Cochran INVOICE#: 010051673215 DATE: 5/24/2022                                                 $ 15.17
             Car service to airport re: Sale hearing in Mobile, AL

  05/12/22   VENDOR: Ryan Cochran INVOICE#: 010051627002 DATE: 5/17/2022                                                  $ 3.28
             R. Cochran internet while in Mobile, AL for Sale Hearing (1 day)

  05/12/22   VENDOR: Brian Malcom INVOICE#: 010051690413 DATE: 5/24/2022                                              $ 1,053.03
             Two conference rooms, wifi connections for two days and lunch at the
             Battle House Hotel for Court Auction and sale hearing

  05/13/22   VENDOR: Kendria S. Lewis INVOICE#: 010051651409 DATE:                                                     $ 444.46
             5/17/2022 hearing in Alabama

  05/13/22   VENDOR: Ryan Cochran INVOICE#: 010051627002 DATE: 5/17/2022                                               $ 211.74
             R. Cochran rental vehicle for Sale Hearing in Mobile AL

  05/13/22   VENDOR: Ryan Cochran INVOICE#: 010051627002 DATE: 5/17/2022                                                 $ 12.37
             R. Cochran and K. Lewis dinner at airport while returning home from
             Mobile, AL for Sale Hearing

  05/13/22   VENDOR: Ryan Cochran INVOICE#: 010051627002 DATE: 5/17/2022                                                 $ 18.00
             R. Cochran parking while in Mobile, AL for Sale Hearing (1 day)

  05/13/22   VENDOR: Ryan Cochran INVOICE#: 010051627002 DATE: 5/17/2022                                                 $ 24.94
             R. Cochran parking while in Mobile, AL for Sale Hearing (1 day)

  05/13/22   VENDOR: Ryan Cochran INVOICE#: 010051627002 DATE: 5/17/2022                                               $ 443.46
             R. Cochran parking while in Mobile, AL for Sale Hearing (1 day)

  05/13/22   VENDOR: Brian Malcom INVOICE#: 010051624996 DATE: 5/17/2022                                                 $ 24.94
             Valet parking for hotel stay

  05/13/22   VENDOR: Brian Malcom INVOICE#: 010051624996 DATE: 5/17/2022                                               $ 443.46
             Hotel stay for Court Auction

             Total Disbursements ................................................................ ...........         $ 2,732.21

             Total Fees and Disbursements on This Invoice                                                           $ 40,186.71

             PLEASE REMIT TOTAL AMOUNT DUE                                                                           $ 40,186.71
